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 1                IN THE UNITED STATES DISTRICT COURT FOR THE

 2                        EASTERN DISTRICT OF CALIFORNIA

 3

 4   UNITED STATES OF AMERICA,

 5                     Plaintiff,
                                                CR. NO. S-10-0299 EJG
 6                v.

 7   BERNARD LAREDO, et al.,

 8                     Defendants.
                                        /
 9
     UNITED STATES OF AMERICA,
10
                       Plaintiff,               CR. NO. S-11-0365 GEB
11
                  v.
12
     JOSE JESUS MADRIZ-AGUILAR,                 ORDER OF NON-RELATION
13   et al.,

14                  Defendants.
     _____________________________/
15

16        The court has received the Notice of Related Cases

17   concerning the above-captioned matters, filed October 19, 2011.

18   See Local Rule 123, E.D. Cal.          Based on the information available

19   to the court at this time, the court has determined that it is

20   inappropriate to relate or reassign the cases, and therefore

21   declines to do so.      This order is issued for informational

22   purposes only, and shall have no effect on the status of the

23   cases.

24        IT IS SO ORDERED.

25   Dated: October 21, 2011             /s/ Edward J. Garcia
                                         EDWARD J. GARCIA, JUDGE
26                                       UNITED STATES DISTRICT COURT
